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 1   PETER C. ANDERSON
     UNITED STATES TRUSTEE
 2   Eryk R. Escobar, Bar No. 281904
 3   Assistant United States Trustee
     Katherine C. Bunker, Bar No. 240593
 4   Attorney for the United States Trustee
     OFFICE OF THE UNITED STATES TRUSTEE
 5   915 Wilshire Blvd., Ste. 1850
     Los Angeles, CA 90017
 6
     Telephone: (213) 894-3326; Facsimile (213) 894-0276
 7   Email: kate.bunker@usdoj.gov

 8                            UNITED STATES BANKRUPTCY COURT

 9                             CENTRAL DISTRICT OF CALIFORNIA

10                               SAN FERNANDO VALLEY DIVISION

11
                                                         Case No. 1:23-bk-10618-VK
12    In re
                                                         Chapter 11
13    SCHULTZ INVESTMENTS 21, INC,
                                                         UNITED STATES TRUSTEE’S NOTICE
14                          Debtor(s).                   OF MOTION AND MOTION UNDER 11
                                                         U.S.C. § 1112(b) TO DISMISS OR, IN THE
15
                                                         ALTERNATIVE, TO CONVERT CASE;
16                                                       MEMORANDUM OF POINTS AND
                                                         AUTHORITIES; AND DECLARATION OF
17                                                       AUDITOR MARLENE FOUCHE IN
                                                         SUPPORT THEREOF
18

19                                                        Hearing Date:     June 15, 2023
                                                          Time:             1:00 pm
20                                                        Place:            Courtroom 301
                                                                            (via ZoomGov)
21                                                                          21041 Burbank Blvd.
                                                                            Woodland Hills, CA 91367
22

23            TO   THE    HONORABLE          VICTORIA        S.   KAUFMAN,       UNITED      STATES

24   BANKRUPTCY JUDGE FOR THE CENTRAL DISTRICT OF CALIFORNIA, DEBTOR,

25   AND ALL PARTIES IN INTEREST:

26            PLEASE TAKE NOTICE THAT, on June 15, 2023, at 1:00 pm, or as soon thereafter as the
27   matter may be heard, the United States Trustee for Region 16 (the “U.S. Trustee”), through the
28   undersigned attorney, will and hereby does move this Court to enter an order dismissing this case,

                                                     1
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 1   or, in the alternative, converting this case to chapter 7, for cause pursuant to 11 U.S.C. § 1112(b)
 2   and for such other relief as may be appropriate on the grounds set forth below.
 3           Local Bankruptcy Rule 9013-1(f) requires that any opposition or response to this motion be
 4   stated in writing, filed with the Clerk of the Court and served upon the U.S. Trustee at the address
 5   set forth in the upper left-hand corner of this document, upon the chapter 11 trustee and his or her
 6   attorney if a trustee has been appointed, and upon the debtor and the debtor’s attorney no less than
 7   fourteen (14) days prior to the above hearing date. The court may treat failure to file a written
 8   response to this motion within the required time period as consent to the motion.
 9           Notwithstanding any language in the Notice advising or suggesting that the hearing will be
10   held physically in one of the Court's courtrooms, please be advised that due to the COVID-19
11   pandemic, the Court will conduct the hearing remotely, using ZoomGov audio and video

12   technology. Individuals will not be permitted access to the courtroom. Information on how to

13   participate in the hearing remotely using ZoomGov is provided below.

14           1.      Hearing participants and members of the public may participate in and/or observe

15   the hearing using ZoomGov, free of charge.

16           2.      Individuals may connect by ZoomGov audio and video using a personal computer

17   (equipped with camera, microphone and speaker), or a handheld mobile device with an integrated

18   camera, microphone and speaker (such as an iPhone, iPad, Android phone or Android tablet). The

19   connection can be initiated by entering the "Meeting URL" into a web browser on any of these

20   devices, provided the device is connected to the Internet. Individuals connecting in this manner

21   will be prompted for the Meeting ID and Password shown below.

22           3.      Individuals also may connect to the hearing by telephone only, using the telephone

23   number provided below. Individuals connecting in this manner also will be prompted for the

24   Meeting ID and Password.

25           4.      Neither a Zoom nor a ZoomGov account is necessary to participate in or observe

26   the hearing, and no pre-registration is required.

27           5.      The audio portion of the hearing will be recorded electronically by the Court and

28   constitute its official record.

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 1          6.     All persons are strictly prohibited from making any other recording of court
 2   proceedings, whether by video, audio, "screenshot," or otherwise. Violation of this prohibition may
 3   result in the imposition of monetary and non-monetary sanctions.
 4          7.     The following is the unique ZoomGov connection information for the above-
 5   referenced hearing:
 6          Join By Computer
            Web link: https://cacb.zoomgov.com/j/1604228467
 7          Meeting ID: 160 422 8467
 8          Password: 713702

 9          Join By Telephone
            Telephone conference lines: 1-669-254-5252 OR 1-646-828-7666
10          Meeting ID: 160 422 8467
            Password: 713702
11

12          8.     More information on using ZoomGov to participate in this hearing is available on

13   the Court's website at the following web address: https://www.cacb.uscourts.gov/news/zoom-

14   video-hearing-guide-participants.

15   Dated: May 22, 2023                               Respectfully submitted,
                                                       PETER C. ANDERSON
16                                                     UNITED STATES TRUSTEE
17
                                                          /s/ Katherine C. Bunker
18                                                        By: Katherine C. Bunker
                                                               Attorney for the United States Trustee
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.     INTRODUCTION
 3          The United States Trustee for Region 16 (the “U.S. Trustee”) alleges that cause exists for
 4   dismissal of the instant case pursuant to 11 U.S.C. § 1112(b)(4)(C), (F), and (H)1 because the
 5   debtor has failed to provide sufficient proof of insurance and submit a complete 7-day package.
 6   Thus, dismissal of the case for cause is warranted under § 1112(b)(4)(C), (F), and (H).
 7   II.    JURISDICTION AND STANDING
 8          This Court has jurisdiction of this matter under 28 U.S.C. § 1334(a) and (b), 28 U.S.C.
 9   § 157(a) and (b)(1) and 28 U.S.C. § 151. This is a core proceeding under 28 U.S.C. § 157
10   (b)(2)(A) and (B). This motion is filed pursuant to § 1112(b).
11   III.   STATEMENT OF FACTS
12          1.      On May 8, 2023, Schultz Investments 21, Inc. (the “Debtor”) filed a voluntary
13   chapter 11 petition. Declaration of Marlene Fouche (“Fouche Dec.”), Exhibit A (copy of case
14   docket).
15          2.      The Debtor’s schedules list the following real property:
16                  a. 8414 Columbus Way, Unit 9, North Hills, CA 91343,
17                  b. 8414 Columbus Way, Unit 2, North Hills, CA 91343, and
18                  c. 1315 Robinson Street, Bakersfield, CA 93305.
19   Fouche Dec., Exhibit C (copy of Schedule A/B).
20          3.      The Debtor remains the debtor-in-possession and therefore is required to comply
21   with the United States Trustee Guidelines which impose certain duties, responsibilities, and
22   reporting requirements on the Debtor.
23          4.      Although the U.S. Trustee has emailed Debtor’s counsel about the lack of
24   compliance with the United States Trustee Guidelines and/or Local Bankruptcy Rules, Fouche
25   Dec. ¶4, to date the Debtor still has not submitted the following documents and/or reports:
26
            1
27           Unless otherwise indicated, all chapter, section, and rule references are to the Bankruptcy
     Code, 11 U.S.C. §§ 101-1532, and to the Federal Rules of Bankruptcy Procedure, Rules 1001-
28   9037.
                                                      4
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                     a. Declaration of Debtor Regarding Compliance with U.S. Trustee Guidelines and
 1                      Requirements for Chapter 11 Debtors in Possession (“Chapter 11 Compliance
 2                      Declaration”).
                     b. Real Property Questionnaire(s).
 3                   c. Sufficient evidence of closing of all pre-petition bank accounts including: (a)
                        closing bank statements; and/or (b) bank account information in the Chapter 11
 4                      Compliance Declaration.
                     d. Sufficient evidence of the opening and maintenance of the three debtor-in-
 5
                        possession bank accounts (general, payroll and tax)2 including a copy of the
 6                      “debtor-in-possession” check for each account.
                     e. Sufficient evidence of current insurance coverage including: (a) the declaration
 7                      page for each policy; and/or (b) insurance information in the Chapter 11
                        Compliance Declaration.
 8                   f. Proof of required certificates and/or applicable licenses in the Chapter 11
                        Compliance Declaration.
 9
                     g. List of insiders as defined in 11 U.S.C. § 101(31) in the Chapter 11 Compliance
10                      Declaration.
                     h. Financial Statement information in the Chapter 11 Compliance Declaration.
11                   i. Projected cash flow statement for the first 90 days of operation under chapter 11.
                     j. Conformed copy(ies) of the recording of the Debtor(s)’s bankruptcy petition in
12                      each county in which real property is owned.
                     k. Statement of Major Issues and Timetable Report.
13
                     l. Copies of the preceding two years of state and federal income tax returns and the
14                      most recent payroll and sales tax returns.
                     m. Employee Benefit Plan Questionnaire.
15

16   Fouche Dec. ¶5.

17   III.    LEGAL ARGUMENT

18           Dismissal or conversion of a chapter 11 case is governed by § 1112(b), which provides, in

19   pertinent part: “. . . on request of a party in interest or the United States trustee . . . and after notice

20   and a hearing, the court shall convert a case under this chapter to a case under chapter 7 of this title

21   or may dismiss a case under this chapter, whichever is in the best interest of creditors and the estate,

22   for cause. . . .” 11 U.S.C. § 1112(b)(1).

23           Congress granted bankruptcy courts broad discretion to convert or dismiss a chapter 11

24   bankruptcy case for “cause” under § 1112(b). See, e.g., Consol. Pioneer Mortgage Entities v. U.S.

25   Trustee (In re Consol. Pioneer Mortgage Entities), 264 F.3d 803, 806-07 (9th Cir. 2001) (decision

26

27           2
              Unless the Debtor(s) has requested in writing that the U.S. Trustee waive one or more of
     the required accounts, and the U.S. Trustee has granted the request in writing.
28

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 1   to convert a case to chapter 7 is within bankruptcy court’s discretion); Loop Corp. v. U.S. Trustee,

 2   379 F.3d 511, 515 (8th Cir. 2004) (bankruptcy court has broad discretion in deciding to dismiss or

 3   convert chapter 11 case). Section 1112(b)(4) provides a non-exhaustive list of what may constitute

 4   “cause” for dismissal or conversion, including –
 5          (A) substantial or continuing loss to or diminution of the estate and the absence of a
 6              reasonable likelihood of rehabilitation; (B) gross mismanagement of the estate;
                (C) failure to maintain appropriate insurance that poses a risk to the estate or to
 7              the public; (D) unauthorized use of cash collateral substantially harmful to 1 or
                more creditors; (E) failure to comply with an order of the court; (F) unexcused
 8              failure to satisfy timely any filing or reporting requirement established by this
                title or by any rule applicable to a case under this chapter; (G) failure to attend
 9
                the meeting of creditors convened under section 341(a) or an examination
10              ordered under rule 2004 of the Federal Rules of Bankruptcy Procedure without
                good cause shown by the debtor; (H) failure timely to provide information or
11              attend meetings reasonably requested by the United States Trustee (or the
                bankruptcy administrator, if any); (I) failure timely to pay taxes owed after the
12              date of the order for relief or to file tax returns due after the date of the order for
                relief; (J) failure to file a disclosure statement, or to file or confirm a plan,
13
                within the time fixed by this title or by order of the court; (K) failure to pay any
14              fees or charges required under chapter 123 of title 28; (L) revocation of an
                order of confirmation under section 1144 of this title; (M) inability to
15              effectuate substantial consummation of a confirmed plan; (N) material default
                by the debtor with respect to a confirmed plan; (O) termination of a confirmed
16              plan by reason of the occurrence of a condition specified in the plan; and (P)
                failure of the debtor to pay any domestic support obligation that first becomes
17
                payable after the date of the filing of the petition.
18   11 U.S.C. § 1112(b)(4). Once cause for relief under § 1112(b) is established, the court is required
19   to grant relief. See, e.g., In re Products Intern Co., 395 B.R. 101, 107 (Bankr. D. Ariz. 2008)
20   (discussing 2005 amendment to § 1112 changing “may” to “shall”).
21          A. Cause Exists to Dismiss or Convert the Case Based on Debtor’s Failure to Comply
22              with the United States Trustee’s Guidelines under § 1112(b)(4)(F) and (H)
23          Section 1112(b)(4)(F) and (H), respectively, provide that the court shall dismiss or convert
24   a case for cause based on the debtor’s “unexcused failure to satisfy timely any filing or reporting
25   requirement established by this title or by any rule applicable to a case under this chapter” and/or
26   the debtor’s “failure timely to provide information or attend meetings reasonably requested by the
27   United States Trustee[.]” Local Bankruptcy Rule 2015-2(a) provides that timely compliance with
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 1   the reasonable requirements of the U.S. Trustee is mandatory. Thus, a debtor’s failure to comply

 2   with the reporting requirements of the U.S. Trustee and the Local Bankruptcy Rules is cause to

 3   dismiss this chapter 11 case or convert it to one under chapter 7, pursuant to 11 U.S.C. §

 4   1112(b)(1) and (b)(4)(F) and (H). See also In re 3868-70 White Plains Road Inc., 28 B.R. 515

 5   (Bankr. S.D.N.Y. 1983); In re Bianco, 5 B.R. 466 (Bank. D. Mass.1980); In re Pappas, 17 B.R.

 6   662 (Bankr. D. Mass. 1982).

 7          The United States Trustee Guidelines and Requirements for Chapter 11 Debtors In

 8   Possession impose certain duties, responsibilities, and reporting requirements on a debtor in

 9   possession. One of the requirements is that the debtor electronically submit within seven days of

10   the petition date, the case is converted, or an order for relief is entered, various documents relating

11   to the debtor’s real property, prepetition bank accounts, debtor-in-possession bank accounts,

12   insurance coverage, certificates and licenses, projected cash flow statement, statement of major

13   issues and timetable report, employee benefit plan questionnaire, declaration regarding compliance

14   with the Guidelines, tax returns, proof of recording of the chapter 11 petition, list of insiders, pre-

15   petition financial statements, and domestic support obligations (collectively, the “7 Day Package”).

16   U.S. Trustee Program – Region 16, Guidelines and Requirements for Chapter 11 Debtors In

17   Possession, Section III available at https://www.justice.gov/ust-regions-r16/region-16-general-

18   information (last visited May 4, 2023).

19          Here, the Debtor has failed to comply with the reporting requirements of the U.S. Trustee

20   by failing to submit a complete 7 Day Package despite being given notice of the missing

21   documents. Specifically, to date the Debtor has not provided:

22          a. Declaration of Debtor Regarding Compliance with U.S. Trustee Guidelines and
23             Requirements for Chapter 11 Debtors in Possession (“Chapter 11 Compliance
               Declaration”).
24          b. Real Property Questionnaire(s).
            c. Sufficient evidence of closing of all pre-petition bank accounts including: (a) closing
25             bank statements; and/or (b) bank account information in the Chapter 11 Compliance
               Declaration.
26
            d. Sufficient evidence of the opening and maintenance of the three debtor-in-possession
27             bank accounts (general, payroll and tax) including a copy of the “debtor-in-possession”
               check for each account.
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             e. Sufficient evidence of current insurance coverage including: (a) the declaration page for
 1              each policy; and/or (b) insurance information in the Chapter 11 Compliance Declaration.
 2           f. Proof of required certificates and/or applicable licenses in the Chapter 11 Compliance
                Declaration.
 3           g. List of insiders as defined in 11 U.S.C. § 101(31) in the Chapter 11 Compliance
                Declaration.
 4           h. Financial Statement information in the Chapter 11 Compliance Declaration.
             i. Projected cash flow statement for the first 90 days of operation under chapter 11.
 5
             j. Conformed copy(ies) of the recording of the Debtor(s)’s bankruptcy petition in each
 6              county in which real property is owned.
             k. Statement of Major Issues and Timetable Report.
 7           l. Copies of the preceding two years of state and federal income tax returns and the most
                recent payroll and sales tax returns.
 8           m. Employee Benefit Plan Questionnaire.
 9

10   Fouche Dec. ¶5.

11           B. Cause Exists to Dismiss or Convert the Case Based on the Debtor’s Failure to Provide

12               Proof of Adequate Insurance under § 1112(b)(4)(C)

13           Section 1112(b)(4)(C) provides that the court shall dismiss or convert a case for cause

14   based on the debtor’s “failure to maintain appropriate insurance that poses a risk to the estate or to

15   the public.” Here, the Debtor’s insurance policy for the following real/personal properties has not

16   been provided:

17           a. 8414 Columbus Way Unit 9, North Hills, CA 91343,

18           b. 8414 Columbus Way Unit 2, North Hills, CA 91343, and

19           c. 1315 Robinson St, Bakersfield, CA 93305.

20   Fouche Dec. ¶6. The U.S. Trustee has reached out to the Debtor’s counsel about the need to

21   provide proof of insurance, but the Debtor has not provided any evidence to date. Id. ¶4.

22           C. There Do Not Appear to be Any Unusual Circumstances

23           When a court determines cause exists to convert or dismiss it must also identify whether

24   there are unusual circumstances that establish that dismissal or conversion is not in the best

25   interests of creditors and the estate. See In re Sullivan, 522 B.R. 604, 612 (9th Cir. BAP 2014). In

26   this case, there appear to be no unusual circumstances that establish that dismissal or conversion is

27   not in the best interests of creditors and the estate.

28   ///

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 1   IV.    CONCLUSION

 2          Based on the foregoing, the United States Trustee respectfully requests that the Court
 3   dismiss this case pursuant to § 1112(b)(4)(C), (F), and (H). In the alternative, if the Court
 4   determines that dismissal is not appropriate, the U.S. Trustee requests that this case be converted to
 5   Chapter 7.
 6   Dated: May 22, 2023                                Respectfully submitted,
                                                        PETER C. ANDERSON
 7                                                      UNITED STATES TRUSTEE
 8
                                                           /s/ Katherine C. Bunker
 9                                                         By: Katherine C. Bunker
                                                                Attorney for the United States Trustee
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 1                              DECLARATION OF MARLENE FOUCHE

 2          I, Marlene Fouche, declare,
 3          1.      I am an Auditor with the Los Angeles, California office of the United States Trustee
 4   and am the Auditor assigned to this bankruptcy case. I am over the age of eighteen and I have
 5   personal knowledge of the facts set forth herein. On behalf of the U.S. Trustee, and in the course
 6   and scope of my regular duties, I have reviewed the case docket and the filings therein, including
 7   the Debtor’s petition and schedules filed with the Court.
 8          2.      Attached hereto as Exhibit A is a true copy of the court’s electronic docket which I
 9   printed from the electric case files of the U.S. Bankruptcy Court for the Central District of
10   California.
11          3.      Attached hereto as Exhibit B is a true and correct copy of the petition, filed in this
12   case on May 8, 2023; Exhibit C contains a true and correct copy of the Statements and Schedules
13   including Schedule A/B, filed in this case on May 15, 2023, which I printed from the electronic
14   case files of the U.S. Bankruptcy Court for the Central District of California.
15          4.      On May 18, 2023, I reached out to the Debtor’s counsel about the missing 7 Day
16   Package items, including proof of insurance for the Debtor’s real properties.
17          5.      To date, the following 7 Day Package items remain outstanding:
18          a. Declaration of Debtor Regarding Compliance with U.S. Trustee Guidelines and
19             Requirements for Chapter 11 Debtors in Possession (“Chapter 11 Compliance
               Declaration”).
20          b. Real Property Questionnaire(s).
            c. Sufficient evidence of closing of all pre-petition bank accounts including: (a) closing
21             bank statements; and/or (b) bank account information in the Chapter 11 Compliance
               Declaration.
22
            d. Sufficient evidence of the opening and maintenance of the three debtor-in-possession
23             bank accounts (general, payroll and tax) including a copy of the “debtor-in-possession”
               check for each account.
24          e. Sufficient evidence of current insurance coverage including: (a) the declaration page for
               each policy; and/or (b) insurance information in the Chapter 11 Compliance Declaration.
25          f. Proof of required certificates and/or applicable licenses in the Chapter 11 Compliance
               Declaration.
26
            g. List of insiders as defined in 11 U.S.C. § 101(31) in the Chapter 11 Compliance
27             Declaration.
            h. Financial Statement information in the Chapter 11 Compliance Declaration.
28          i. Projected cash flow statement for the first 90 days of operation under chapter 11.

                                                       10
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                                Exhibit A
5/18/23, 1:19 Case
              PM     1:23-bk-10618-VK             Doc 20 CM/ECF
                                                           Filed- U.S.
                                                                  05/23/23        Entered
                                                                       Bankruptcy Court       05/23/23
                                                                                        (NG 1.7.1.1 - LIVE) 08:39:03   Desc
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                                                                                                                   DsclsDue, PlnDue


                                                U.S. Bankruptcy Court
                                  Central District of California (San Fernando Valley)
                                      Bankruptcy Petition #: 1:23-bk-10618-VK
                                                                                                          Date filed: 05/08/2023
 Assigned to: Victoria S. Kaufman                                                                      341 meeting: 06/13/2023
 Chapter 11                                                                     Deadline for objecting to discharge: 08/14/2023
 Voluntary
 Asset


 Debtor                                                                          represented by Dixon G Kummer
 Schultz Investments 21, Inc                                                                    2031 F St
 1702 Highclere Way                                                                             Bakersfield, CA 93301
 Bakersfield, CA 93311                                                                          661-324-2700
 KERN-CA                                                                                        Email: dkummer@kummerlaw.net
 Tax ID / EIN: XX-XXXXXXX

 U.S. Trustee                                                                    represented by Katherine Bunker
 United States Trustee (SV)                                                                     915 Wilshire Blvd., Ste. 1850
 915 Wilshire Blvd, Suite 1850                                                                  Los Angeles, CA 90017
 Los Angeles, CA 90017                                                                          213-894-3326
 (213) 894-6811                                                                                 Fax : 213-894-0276
                                                                                                Email: kate.bunker@usdoj.gov


     Filing Date                           #                                               Docket Text

                                       1                      Chapter 11 Voluntary Petition Non-Individual. Fee Amount $1738 Filed
                                       (12 pgs; 3 docs)       by Schultz Investments 21, Inc List of Equity Security Holders due
                                                              5/22/2023. Summary of Assets and Liabilities (Form 106Sum or 206Sum )
                                                              due 5/22/2023. Schedule A/B: Property (Form 106A/B or 206A/B) due
                                                              5/22/2023. Schedule D: Creditors Who Have Claims Secured by Property
                                                              (Form 106D or 206D) due 5/22/2023. Schedule E/F: Creditors Who Have
                                                              Unsecured Claims (Form 106E/F or 206E/F) due 5/22/2023. Schedule G:
                                                              Executory Contracts and Unexpired Leases (Form 106G or 206G) due
                                                              5/22/2023. Schedule H: Your Codebtors (Form 106H or 206H) due
                                                              5/22/2023. Declaration Under Penalty of Perjury for Non-Individual
                                                              Debtors (Form 202) due 5/22/2023. Statement of Financial Affairs (Form
                                                              107 or 207) due 5/22/2023. Corporate Ownership Statement (LBR Form
                                                              F1007-4) due by 5/22/2023. Statement of Related Cases (LBR Form
                                                              F1015-2) due 5/22/2023. Verification of Master Mailing List of Creditors
                                                              (LBR Form F1007-1) due 5/22/2023. Incomplete Filings due by
   05/08/2023                                                 5/22/2023. (TK) (Entered: 05/08/2023)

                                       2                      Driver's License Document Filed by Debtor Schultz Investments 21, Inc.
   05/08/2023                                                 (TK) (Entered: 05/08/2023)

                                                              Receipt of Chapter 11 Filing Fee - $1738.00 by 16. Receipt Number
   05/08/2023                                                 10076611. (admin) (Entered: 05/08/2023)

   05/09/2023                          3                      Meeting of Creditors 341(a) meeting to be held on 6/13/2023 at 10:00 AM
                                       (2 pgs)                at UST-SVND2, TELEPHONIC MEETING. CONFERENCE LINE:1-
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?139472650456168-L_1_0-1
                                                                                                                        012              1/3
5/18/23, 1:19 Case
              PM     1:23-bk-10618-VK             Doc 20 CM/ECF
                                                           Filed- U.S.
                                                                  05/23/23        Entered
                                                                       Bankruptcy Court       05/23/23
                                                                                        (NG 1.7.1.1 - LIVE) 08:39:03 Desc
                                                  Main Document         Page     14  of  71
                                                         866-820-9498, PARTICIPANT CODE:6468388. Last day to oppose
                                                              discharge or dischargeability is 8/14/2023. (AG1) (Entered: 05/09/2023)

                                       4                      Order to Show Cause re: Dismissal (BNC-PDF) (Related Doc # 1 ) Signed
   05/09/2023                          (4 pgs)                on 5/9/2023 (PG) (Entered: 05/09/2023)

                                       5                      Hearing Set Order to Show Cause hearing to be held on 5/18/2023 at
                                                              01:00 PM at Crtrm 301, 21041 Burbank Blvd, Woodland Hills, CA 91367.
                                                              The case judge is Victoria S. Kaufman (PG). Related document(s) 4 Order
   05/09/2023                                                 to Show Cause for Dismissal of Case (BNC-PDF). (Entered: 05/09/2023)

                                       6                      BNC Certificate of Notice (RE: related document(s)1 Voluntary Petition
                                       (2 pgs)                (Chapter 11) filed by Debtor Schultz Investments 21, Inc) No. of Notices:
   05/10/2023                                                 1. Notice Date 05/10/2023. (Admin.) (Entered: 05/10/2023)

                                       7                      BNC Certificate of Notice (RE: related document(s)1 Voluntary Petition
                                       (2 pgs)                (Chapter 11) filed by Debtor Schultz Investments 21, Inc) No. of Notices:
   05/10/2023                                                 1. Notice Date 05/10/2023. (Admin.) (Entered: 05/10/2023)

                                       8                      BNC Certificate of Notice (RE: related document(s)3 Meeting of
                                       (4 pgs)                Creditors Chapter 11 (Corporations or Partnerships) (309F1)) No. of
   05/11/2023                                                 Notices: 8. Notice Date 05/11/2023. (Admin.) (Entered: 05/11/2023)

                                       9                      BNC Certificate of Notice - PDF Document. (RE: related document(s)4
                                       (5 pgs)                Order to Show Cause for Dismissal of Case (BNC-PDF)) No. of Notices:
   05/11/2023                                                 1. Notice Date 05/11/2023. (Admin.) (Entered: 05/11/2023)

                                       10                     Statement of Related Cases (LBR Form 1015-2.1) , Statement of
                                       (42 pgs)               Corporate Ownership filed. , Summary of Assets and Liabilities for Non-
                                                              Individual (Official Form 106Sum or 206Sum) , Amended Schedule A/B
                                                              Non-Individual: Property (Official Form 106A/B or 206A/B) , Schedule D
                                                              Non-Individual: Creditors Who Have Claims Secured by Property
                                                              (Official Form 106D or 206D) , Schedule E/F Non-Individual: Creditors
                                                              Who Have Unsecured Claims (Official Form 106F or 206F) , Schedule G
                                                              Non-Individual: Executory Contracts and Unexpired Leases (Official
                                                              Form 106G or 206G) , Schedule H Non-Individual: Your Codebtors
                                                              (Official Form 106H or 206H) , Declaration Under Penalty of Perjury for
                                                              Non-Individual Debtors (Official Form 202) , Statement of Financial
                                                              Affairs for Non-Individual Filing for Bankruptcy (Official Form 107 or
                                                              207) , Verification of Master Mailing List of Creditors (LBR Form F1007-
                                                              1) Filed by Debtor Schultz Investments 21, Inc (RE: related document(s)1
   05/15/2023                                                 Voluntary Petition (Chapter 11)). (LF1) (Entered: 05/15/2023)

                                       11                     Disclosure of Compensation of Attorney for Debtor (Official Form 2030)
   05/15/2023                          (2 pgs)                Filed by Debtor Schultz Investments 21, Inc . (LF1) (Entered: 05/15/2023)

                                       14                     Debtor's Request to Activate Electronic Noticing (DeBN) Filed by Debtor
   05/15/2023                                                 Schultz Investments 21, Inc . (LF1) (Entered: 05/16/2023)

                                       12                     List of Equity Security Holders Filed by Debtor Schultz Investments 21,
                                       (2 pgs)                Inc (RE: related document(s)1 Voluntary Petition (Chapter 11)). (RT)
   05/16/2023                                                 (Entered: 05/16/2023)

                                       13                     Substitution of attorney for debtor. Filed by Debtor Schultz Investments
   05/16/2023                          (3 pgs)                21, Inc . (RT) (Entered: 05/16/2023)


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                                       15                     Order Setting Hearing On Status Of Chapter 11 Case And Requiring
                                       (7 pgs)                Report On Status Of Chapter 11 Case (BNC-PDF) (Related Doc # 1 )
   05/17/2023                                                 Signed on 5/17/2023 (LF1) (Entered: 05/17/2023)

                                       16                     Hearing Set (Re: Doc. #1) Status hearing to be held on 6/8/2023 at 01:00
                                                              PM at Crtrm 301, 21041 Burbank Blvd, Woodland Hills, CA 91367. The
   05/17/2023                                                 case judge is Victoria S. Kaufman (LF1) (Entered: 05/17/2023)

                                       17                     Notice of order req. filing of stat report and appear at stat conf or case will
   05/17/2023                          (1 pg)                 be dism or conv for failure to comp (BNC) (LF1) (Entered: 05/17/2023)




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    915 Wilshire Blvd., Ste. 1850
    Los Angeles, CA 90017
                                                                       United States Trustee's Notice of Motion and
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 Motion Under 11 U.S.C. § 1112(b) to Dismiss or, In the Alternative, to Convert Case; Memorandum of Points and
________________________________________________________________________________________________
________________________________________________________________________________________________
 Authorities; and Declaration of Auditor Marlene Fouche In Support Thereof
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
5/23/23             I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              5/23/23           I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                       ✔ Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                  5/23/23
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,     I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Dixon G. Kummer dkummer@kummerlaw.net




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

5/23/23            Veronica Hernandez                                                          /s/ Veronica Hernandez
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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